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IN THE uNITED sTATEs DISTRICT coURT HHDYKW¥$ ~u_ 33
FoR THE wEsTERN DISTRICT oF TENNESSEE §
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Hl;u;-… : _: ;r»'.:i:o
ctear,x;:_cnsr ct
UNITED STATES oF AMERICA, ) W,U`OpTN_%EMHMS
)
Plaintiff, )
>
vs. ) CR. NO. 04-20095-Ma
)
NABIL HAIMED, )
NAGI ALKABSH, h
)
Defendants. )

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

'I‘his cause came on for a report date on April 21, 2005.
Counsel requested a continuance of the trial date in order to allow
for additional preparation in the case and due to the
unavailability of Defense Counsel_

The Court granted the request and continued the trial to the
rotation docket beginning June 6, 2005 at 9:30 a.m., with a report
date of Tuesday, May 31, 2005 at 4:00 p.m.

The period from April 21, 2005 through June 17, 2005 is
excludable under 18 U.S.C. §§ 3l6l(h)(8)(B)(iv) and
3161(h)(8)(A)(iv) because the interests of justice in allowing
additional time to prepare and continuity of defense counsel
outweigh the need for a speedy trial.

IT IS SO ORDERED this '0}4; day of May, 2005.

l'ins document entered on the docket shest fn compliance SAMUEL H . MAYS , JR .

vmhsumszamwmszw)Faowong§:gfgl§;___* UNITED STATES DISTRICT JUDGE q?§?

 

 

DISTRIC COURT - WERNSTE D"RITICT o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 99 in
case 2:04-CR-20095 Was distributed by faX, mail, or direct printing on

May ]8, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

